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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                            NORTHERN DIVISION

CNS INTERNATIONAL                         )
MINISTRIES, INC.,                         )
                                          )
         Plaintiff,                       )
                                          )
    v.                                    )       No. 2:21-CV-65 HEA
                                          )
JESSICA BAX, in her official              )
capacity as Acting Director of the        )
Missouri Department of                    )
Social Services,                          )
                                          )
         Defendant.                       )

                      OPINION, MEMORANDUM AND ORDER

         This matter is before the Court on the parties’ cross motions for summary

judgment. (ECF Nos. 95 and 100). The motions are fully briefed and ripe for

review.      For the reasons below, the Court denies Plaintiff CNS International

Ministries, Inc.’s motion for summary judgment and grants Defendant Jessica Bax’s

motion for summary judgment.

                                 I.    Background

         Plaintiff CNS International Ministries, Inc. (“CNSIMI”) is a non-profit

corporation that operates a number of Christian-based programs near Bethel,

Missouri, including a residential program for troubled youth. Because CNSIMI is

a religious organization, it is exempt from Missouri state licensing requirements for
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its children’s residential program. Prior to 2021, there was very little state oversight

of residential care facilities for children that were run by religious organizations.

Religious organizations were not even required to inform state officials if they were

operating a residential facility.

      In 2021, following compelling testimony at legislative hearings about neglect,

physical abuse, and sexual assaults that had occurred in residential facilities for

children that were run by certain religious organizations within the State of Missouri,

the Missouri legislature enacted the Residential Care Facility Notification Act

(“RCFNA” or the “Act”), Mo. Rev. Stat. §§ 210.1250, et seq., which became

effective July 14, 2021. This Act mandates disclosures, background checks, certain

recordkeeping, and general health and safety standards for residential care facilities

that are exempt from licensing under Mo. Rev. Stat. § 210.516. The Act requires,

among other things, that license-exempt residential care facilities (“LERCF”) notify

the Missouri Department of Social Services (“DSS”) of their existence. Mo. Rev.

Stat. § 210.1262. Operators of a LERCF must also make certain disclosures to DSS

regarding who works or volunteers for the LERCF or resides on the property;

provide proof that medical records are maintained for each child; and conduct

background checks of certain persons connected with the facility. Mo. Rev. Stat. §§

210.1262, 210.1263, and 210.1264. In addition, the RCFNA outlines procedures for


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the removal of children for certain violations of the Act, as well as if there is an

immediate risk to the health or safety of the children. Mo. Rev. Stat. § 210.1271.

Pursuant to its rulemaking authority under the RCFNA, DSS adopted regulations,

which have been amended a number of times.

      In this suit, CNSIMI challenges many of the RCFNA’s statutory and

regulatory provisions. It argues that the RCFNA and its regulations mandate

requirements, employ procedures, and threaten penalties that are contrary to clearly

established law under the United States Constitution and would require Plaintiff to

violate federal statutes. CNSIMI seeks declaratory and injunctive relief against

implementation and enforcement of certain portions of the RCFNA.              More

specifically, Plaintiff brings the following claims in its Second Amended Complaint

(hereinafter “Complaint”): Violation of Federal Privacy Laws, 42 U.S.C. § 290dd-2

(Count I); Violation of Plaintiff’s Right to Expressive Association (Count II);

Procedural Due Process (Count III); Parental Rights (Count IV); the Hosanna-Tabor

Ministerial Exception (Count V); Illegal Search and Seizure (Count VI); and

Procedural Due Process/Federal Supremacy (Count VII). Plaintiff and Defendant

both filed motions for summary judgment and move for the entry of judgment in

their favor as to all of these claims.




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                        II. Summary Judgment Standard

      The standard applicable to summary judgment motions is well-settled.

Pursuant to Federal Rule of Civil Procedure 56(a), a court may grant a motion for

summary judgment if all of the information before the court shows “there is no

genuine issue as to any material fact and the moving party is entitled to judgment as

a matter of law.” See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

      The initial burden is placed on the moving party. City of Mt. Pleasant, Ia. v.

Associated Elec. Co-op., Inc., 838 F.2d 268, 273 (8th Cir. 1988) (the moving party

has the burden of clearly establishing the non-existence of any genuine issue of fact

that is material to a judgment in its favor). Once this burden is discharged, if the

record shows that no genuine dispute exists, the burden then shifts to the non-moving

party who must set forth affirmative evidence and specific facts showing there is a

genuine dispute on a material factual issue. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986).

      Once the burden shifts, the non-moving party may not rest on the allegations

in his pleadings but by affidavit and other evidence must set forth specific facts

showing that a genuine issue of material fact exists. Fed. R. Civ. P. 56(c); Herring

v. Canada Life Assur. Co., 207 F.3d 1026, 1030 (8th Cir. 2000); Allen v. Entergy

Corp., 181 F.3d 902, 904 (8th Cir. 1999). The non-moving party “must do more than


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simply show that there is some metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

A dispute about a material fact is “genuine” only “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Herring, 207 F.3d

at 1029 (quoting Anderson, 477 U.S. at 248). A party resisting summary judgment

has the burden to designate the specific facts that create a triable question of fact,

see Crossley v. Georgia-Pac. Corp., 355 F.3d 1112, 1114 (8th Cir. 2004), and “must

substantiate allegations with sufficient probative evidence that would permit a

finding in the plaintiff's favor.” Davidson & Assocs. v. Jung, 422 F.3d 630, 638 (8th

Cir. 2005).

                              III.   Undisputed Facts

      Consistent with the summary judgment standard in mind, and upon reviewing

the record, the Court accepts the following facts as true for purposes of resolving the

parties’ cross-motions for summary judgment:

      Plaintiff CNSIMI is a Missouri not-for-profit corporation. It is exempt from

federal income tax under Section 501(a) of the Internal Revenue Code as an

organization described in Section 501(c)(3). CNSIMI is governed by a Board of

Directors. The Board of Directors appoints the ministry’s officers, including, for




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example, the President, Treasurer, Secretary.                These officers appoint managers,

who hire employees, support staff, contractors, and volunteers.

       CNSIMI operates on what it describes as a “sprawling campus,” which it calls

Heartland (referred to hereinafter as the “Heartland Campus”). 1 The Heartland

Campus is situated on land near Bethel, Missouri in Knox County and Shelby

Counties. CNSIMI asserts that Christian belief and practices are integral to its

identity, and the community on the Heartland Campus is an intentional community

that is built around the specific goal to help those with life-controlling issues through

redemption in the belief that Jesus Christ is the answer to every issue that humans

face, including addiction, anger, broken homes, and financial crises. CNSIMI

characterizes the Heartland Campus as a “Christ-centered, sustainable, intentional

community of hope for the hurting built around a vibrant local church, cultivating

individual, family, community and global transformation through the power of the

Gospel.” (ECF No. 97 at 3, ¶13).




       1
          In its filings with the Court, Plaintiff uses the terms “Heartland” and “CNSIMI”
interchangeably, and it is not always clear to what it is referring. (ECF No. 115 at 7 n.1). At
various points in its briefs, Plaintiff uses the term “Heartland” to refer to the campus in northeastern
Missouri, Plaintiff’s corporate entity, its operations, and/or its ministries. There is a legal
distinction between a non-profit corporation and a place – they are not interchangeable. In this
Opinion, Memorandum and Order, the Court will refer to the non-profit corporation as “CNSIMI”
and the campus as “Heartland Campus.”


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      CNSIMI operates a number of services or ministries on the Heartland

Campus, including the following: Heartland Children and Youth Home (“HCYH”),

a residential behavioral and recovery program for girls and boys; Heartland

Women’s Recovery Program (“HWRP”), a residential drug and alcohol program for

adult women; Heartland Men’s Recovery Program (“HMRP”), a residential drug and

alcohol program for adult men; and Heartland Christian Academy (“HCA”), a K-12

day school, which is attended by children from HCYH, as well as children of staff

and children from the community at large. Also located on the Heartland Campus,

although incorporated separately, are Heartland Christian College, which is a two-

year college, and Heartland Community Church.

      Heartland Community Church is a separate legal entity from CNSIMI, but it

is central to the Heartland Campus. Members of the Heartland Community Church

believe that a church is the spiritual family of God, the Christian fellowship created

by the Holy Spirit through the mighty acts of God in Christ Jesus. According to

CNSIMI, “church” is a community of believers living together, as opposed to a

building or a group of people gathered at a single time. (ECF No. 97 at 4).

According to CNSIMI, in order to understand how to live healthy and productive

lives, individuals need to walk alongside and interact with other imperfect people,

who are living healthy and productive lives.       Many individuals in CNSIMI’s


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recovery programs have criminal convictions in their past, often involving drug-

related offenses.

      HMRP houses adult men, who enroll in a 12-month program that focuses on

Christian living and hard work. They participate in daily devotions, chapel, and all

weekly Heartland Community Church services. The men reside in Knox County,

which is separated from other parts of the Heartland Campus by a lake. The women

in HWRP live in a home-like environment and are trained in areas of vocation, work

ethic, child-rearing, and financial stewardship. The women have daily devotion time

and attend all weekly Heartland Community Church services. As for HCYH,

CNSIMI does not provide any facts describing the facility (or facilities) where the

children reside or where it is located on the Heartland Campus. It is undisputed,

however, that on the large Heartland Campus, there are three separate addresses for

HMRP, HWRP, and HCYH.

      Children in HCYH are supervised by staff. For many years, CNSIMI has

required anyone applying for a position that involved contact with children to report

any criminal history, along with child abuse and neglect and sex offender

information. In addition, for more than a decade, it has been CNSIMI's employment

practice to obtain background checks from Missouri's State Highway Patrol and

Family Care Safety Registry, although it is not clear from the record who CNSIMI


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requires to undergo these checks. CNSIMI states that it scrutinizes all history but

treats only sex offender status as automatically disqualifying. To CNSIMI’s

knowledge, there is no listing in Missouri's Central Registry for Abuse and Neglect

resulting from any incident between an adult and a child in CNSIMI’s recovery

programs in the past 20 years, and no felony or misdemeanor convictions resulting

from such interactions in the entire history of Heartland, going back to the mid-

1990s.

       In October 2021, CNSIMI submitted a LERCF notification form to the DSS.2

The LERCF notification form that DSS used at that time required operators of

LERCFs to list the “Job Title/Role” of “all staff members, volunteers, and any

individual eighteen (18) years or older who reside at or on the property of the

residential care facility.” (ECF No. 101-1, at 8-9). Plaintiff filed with its LERCF

notification form a table listing individuals who would complete background checks,

including, but not limited to house parents at HCYH, the Head of School for HCA,

HCA’s teachers and substitute teachers, four individuals who were listed as “HCA

Kitchen,” and two individuals who were listed as “HCA Maintenance.” (Id.)



       2In its LERCF Notification, Plaintiff used the term “CNSIMI” to refer to the “facility
name,” the “owner name,” the name of the “operating agency or organization,” and the name of
the “sponsoring organization.” (ECF No. 101-1, at 8-9). When asked to identity the type of
agency it was operating, Plaintiff did not indicate that it was operating a recovery and/or behavioral
program, but rather it characterized its program as a “Boarding School.” Id.

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      CNSIMI disclosed Edward Sonnier to DSS, who has been a school janitor at

HCA since 2015. A background check reflected that Mr. Sonnier pleaded guilty in

1994 to unlawful use of a weapon. Because of this offense, Defendant deemed Mr.

Sonnier ineligible to work at a LERCF. CNSIMI also disclosed to DSS Sara Morgan,

who has been a lunchroom supervisor at HCA since 2020. A background check

reflected that Ms. Morgan pleaded guilty in 2011 to felony arson. Because of this

offense, Defendant deemed Ms. Morgan as ineligible to work at a LERCF.

      It is undisputed that the LERCF notification form that CNSIMI filed with DSS

in October 2021 does not contain all information required by RCFNA and its

regulations. In what it calls an attempt to comply with the new statute and

regulations, CNSIMI offered to disclose names and conduct background checks on

all individuals who were actually involved in childcare. Defendant indicated that this

was insufficient, and it is DSS’s position that CNSIMI is not in compliance with the

RCFNA.

      Furthermore, David Barton, who was listed as Director of CNSIMI’s

residential care facility, did not provide the certification required by Mo. Code Regs

tit. 13, §35-71.300(5)(D). Instead, he provided a “Modified Attestation” in lieu of

what was mandated, which included the following language:




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      I hereby further attest and affirm that the facility maintains medical
      records according to the written policy of the facility, a copy of which
      is submitted as supporting materials to this Notification.

      I further certify, under oath and subject to penalty of perjury, that all
      individuals listed on the attached are those with unsupervised access to
      children and either have completed the background check requirements
      or will have completed the background check by December 31, 2021,
      pursuant to the timeframe stated in 13 C.S.R. 35-71.300.9(A) and
      C.S.R. 35-71.015(4)(A). Individuals who do not have unsupervised
      access to children will not be asked to complete a background check.

      The ministry does not acknowledge the Department of Social Services
      authority to designate who may lead, be employed by, be on the
      premises of, associate with, or avail themselves of the ministry’s
      services.

(ECF No. 101 at 6, ¶ 22).

      Defendant maintains a list of LERCFs that are in compliance with RCFNA

and its regulations. While CNSIMI applied for inclusion on this list, Defendant has

not placed HCYH or CNSIMI on the compliance list, which according to the record

in this case, it updated on September 22, 2023.

                                  IV. Discussion

      CNSIMI contends that the definition of the term “LERCF” under the Act is

so broad that it encompasses CNSIMI as a whole. It is CNSIMI’s position that the

definition covers all of its ministries and programs on the Heartland Campus and,

therefore, the RCFNA requires individuals across CNSIMI’s various programs,

including those individuals who participate in its adult recovery programs, to submit

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to invasive background checks and disclosures, and that under the RCFNA, many of

its members would be excluded from CNSIMI, its ministries, and the Heartland

Campus. In addition, CNSIMI further argues that RCFNA’s disclosure and

background check requirements apply vertically to persons throughout its chain of

operations, including its senior leadership and even its outside lawyers and

accountants.

      Defendant responds by arguing, among other things, that it has never

interpreted the Act’s definition of LERCF to encompass all of CNSIMI, its adult

recovery programs, or the entire Heartland Campus. Defendant has explicitly stated

that the Act does not require background checks and disclosures for individuals in

HMRP or HWRP, CNSIMI’s adult recovery programs. Defendant further argues

that the categories of people who are subject to the RCFNA’s disclosure and

background check requirements are much more limited than CNSIMI’s broad

interpretation of the statute.

      Most, if not all of Plaintiff’s claims are based on its broad interpretation of the

term “LERCF.” The Court will first examine the statutory definition of what

qualifies as a LERCF under the RCFNA. The Court will then evaluate each of

Plaintiff’s claims within this statutory context.




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      A. What is a “LERCF” under the RCFNA?

      A “residential care facility” is defined under the RCFNA to be:

      Any place, facility, or home operated by any person who receives
      children who are not related to the operator and whose parent or
      guardian is not a resident of the same facility and that provides such
      children with supervision, care, lodging, and maintenance for twenty-
      four hours a day, with or without transfer of custody.

Mo. Rev. Stat. § 210.1253(6).

      A “license-exempt” residential care facility means “a residential care facility

that is not required to be licensed under [Mo. Rev. Stat.] § 210.516,” which includes

“any foster home arrangement established and operated by any well-known religious

order or church and any residential care facility or child placement agency operated

by such organization.” Mo. Rev. Stat. § 210.516.1(5). The parties do not dispute

that any residential care facility operated by CNSIMI would be exempt from

Missouri’s licensing requirements, because CNSIMI is a religious organization.

      CNSIMI operates HCYH, a residential program for troubled youth.

However, CNSIMI does not contend that HCYH alone is a LERCF, rather it argues

that CNSIMI’s entire corporate entity is a LERCF because, according to CNSIMI,

RCFNA’s definition of a “residential care facility” is tied to the operator, not a

particular building or facility. In support of this argument, CNSIMI argues that the

definition of “residential care facility” “attach[es] no significance” to whether

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“homes,” “places” and “facilities” receive children directly, but rather the focus is

whether a home, place or facility is operated by any person who receives children.

And because “person” is defined to include non-profit corporations, CNSIMI is

“person who receives children.”3 Therefore, according to Plaintiff, CNSIMI as a

whole is a LERCF, and all of its programs, including its recovery programs for adult

men and women, fall within the statute’s definition and are subject to RCFNA’s new

disclosure and background check requirements. The Court finds the text of the

statute does not support CNSIMI’s broad interpretation.

      When examining whether a state statue is unconstitutional or in violation of a

federal law, a federal court should follow the state courts’ interpretation of the

statute. Metro. Omaha Prop. Owners Ass’n, Inc. v. City of Omaha, 991 F.3d 880,

884 (8th Cir. 2021). If unavailable, federal courts are to apply “that state’s rules of

statutory construction.” Behlmann v. Century Sur. Co., 794 F.3d 960, 963 (8th Cir.

2015). Missouri courts have not interpreted Mo. Rev. Stat. § 210.1253(6) and,

therefore, the Court will apply Missouri’s rules of statutory construction.

      The Missouri Supreme Court has instructed that “[t]he primary rule of

statutory construction is to ascertain the intent of the legislature from the language


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         The term “person” is defined to include “an individual, partnership, organization,
association, or corporation.” Mo. Rev. Stat. § 210.1253(5) (emphasis added).


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used, to give effect to that intent if possible, and to consider words used in the statute

in their plain and ordinary meaning.” Howard v. City of Kansas City, 332 S.W.3d

772, 779 (Mo. 2011) (quotation omitted). Where “statutory language is not defined

expressly, it is given its plain and ordinary meaning, as typically found in the

dictionary.” Derousse v. State Farm Mut. Auto. Ins. Co., 298 S.W.3d 891, 895 (Mo.

2009). See also Concerned Parents v. Caruthersville Sch. Dist. 18, 548 S.W.2d

554, 559 (Mo. 1977) (“words are to be taken in accord with their fair intendment and

their natural and ordinary meaning,” and “[w]hen language is plain and

unambiguous, no construction is required”). “The context in which a word is used

determines which of the word’s ordinary meanings the legislature intended.” Gross

v. Parson, 624 S.W.3d 877, 885 (Mo. 2021).

      Turning to the language of the statute at issue here, a residential care facility

is limited to a “place,” “facility,” or “home.” Mo. Rev. Stat. § 210.1253(6). The

definition uses restrictive relative clauses to describe what constitutes a residential

care facility, as well as who are operators of a residential care facility.          The

restrictive relative clauses are introduced by the pronouns “that” and “who.” The

statute uses the pronoun “who” to refer to operators of a residential care facility and

the children served by the residential care facility. More specifically, the statute

states that a residential care facility is “operated by any person who receives children


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who are not related to the operator … .” Mo. Rev. Stat. § 210.1253(6) (emphasis

added). The statute then uses the pronoun “that” to introduce a third relative clause

which states as follows: “that provides such children with supervision, care, lodging,

and maintenance for twenty-four hours a day ….”         Mo. Rev. Stat. § 210.1253(6)

(emphasis added). Despite using the pronoun “that,” CNSIMI contends this third

relative clause refers back to persons who are operators. The Court does not agree.

      Ordinarily, the pronoun “who” refers to persons, and the pronoun “that” refers

to inanimate objects or things. Further, in the first relative clause, the statute uses

the term “who” to refer to persons who are operators of residential care facilities. If

the drafters intended the third relative clause to refer to persons who are operators,

it would have once again used the pronoun “who.” Nelson v. Crane, 187 S.W.3d

868, 870 (Mo. 2006) (courts should presume legislators will use a term consistently

and that it bears the same meaning throughout the statute). By using the pronoun

“that,” it is clear the relative clause refers back to the subject of the paragraph – a

place, facility or home, which are inanimate. In other words, the drafters used the

pronoun “that” to introduce a relative clause which provides additional information

restricting a “residential care facility” to a place, facility, or home “that provides

such children with supervision, care, lodging, and maintenance for twenty-four

hours a day ….”     Mo. Rev. Stat. § 210.1253(6).


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      The Court finds this ordinary meaning gives proper effect to the legislator’s

intent. This subsection of the statute is defining the term “residential care facility,”

not who is the operator of a residential care facility. CNSIMI admits that under its

interpretation, the definition of a LERCF would be tied to the operator, not a

particular building or facility, and the Court finds CNSIMI’s proposed interpretation

would result in absurd outcomes contrary to the purpose of the legislation, which is

to protect children who live in facilities without their parents. It is not unusual for

philanthropic organizations to run a number of charities.             For example, an

organization may operate a children’s home, a resale shop, counseling services, and

a job training center. Under CNSIMI’s reading of the statute, all of these charities

would fall under the definition of a residential care facility – an interpretation that is

preposterous.

      As a corporation, CNSIMI may be an operator of a residential care facility,

but CNSIMI is not a place, facility, or home. In short, CNSIMI as whole is not a

LERCF. Further, not all of the places, facilities, or homes that CNSIMI operates

are LERCFs – only those that receive children are. Based on the record, it is

undisputed that CNSIMI operates HCYH, which is a residential home or facility that

provides children with 24-hour care. To the extent that children reside at HCYH




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without their parents or guardians, HCYH is a LERCF under the statutory

definition.4

       In short, the Court finds that CNSIMI’s broad interpretation of statutory

definition for LERCF is not supported by the plain language of the statute. Only

HCYH qualifies as a LERCF, which is the position Defendant has taken in enforcing

the RCFNA. With this finding, the Court now turns to the merits of each of

CNSIMI’s claims.

       B. CNSIMI’s Claims

               1. Federal Privacy Laws – Count I

       In Count I of its Complaint, CNSIMI claims that the RCFNA’s disclosure and

background check requirements are at odds with federal privacy laws, including 42

U.S.C. §§ 290dd-2 and 290ee-3. CNSIMI points to the fact that Mo. Rev. Stat. §

210.1262 requires it to disclose to DSS the “[n]ame of the director, owner, operator,

all staff members, volunteers, and any individual eighteen years of age or older who

resides at or on the property of the residential care facility”; and under Mo. Rev.

Stat. § 210.493, “any person eighteen years of age or older who resides at or on the




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         Interestingly, neither party in this case has established that the “parent[s] or guardian[s]”
of the children at HCYH “[are] not [ ] resident[s] of the same facility.” Mo. Rev. Stat.
§ 210.1253(6). Information about where the parents or guardians of the children at HCYH reside
is not in either side’s Statement of Uncontroverted Material Facts.

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property of such residential care facility” is required to “submit fingerprints and any

information that [DDS] requires to complete the background checks.” Mo. Rev.

Stat. § 210.493.

      CNSIMI argues these statutory provisions violate federal law because they

would require CNSIMI to disclose records that are confidential under federal law in

that they would necessarily reveal the names of individuals participating in its drug

and alcohol recovery programs. 42 U.S.C. § 290dd-2(b)(2)(a); 42 C.F.R. § 2.13(2).

Further, CNSIMI aruges that under federal regulations, “no state law may either

authorize or compel any disclosure prohibited by the regulations in this part.” 42

C.F.R. § 2.20

      CNSIMI’s argument that RCFNA’s disclosure and background check

requirements violate federal privacy laws is based, for the most part, on its broad

interpretation of the definition of LERCF, which the Court finds is not supported by

the plain meaning of the statute. CNSIMI as a whole is not a LERCF; only HCYH

is a LERCF under the statutory definition. Plaintiff is not required to disclose all

members of CNSIMI or all persons who participate in CMSIMI’s ministries,

including its adult recovery programs, HMRP and HWRP.

      CNSIMI does operate HCYH, and as the operator of HCYH, CNSIMI is

subject to disclosures and background check requirements. CNSIMI contends that


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it is “clear” that anyone who resides at or on “the Heartland property” must be

disclosed to DSS and undergo background checks. Defendant, however, has never

taken this position. In order to be in compliance with the RCFNA, adults who

reside at HCYH or on its property must be disclosed and undergo background

checks. Mo. Rev. Stat. §§ 210.1262 and 210.493. It is undisputed that there are

no adults in a recovery program who reside at HCYH. Further, CNSIMI has not

established that adults in its recovery program reside on HCYH property. To the

extent CNSIMI is basing its assertion that anyone who resides on the Heartland

Campus is subject to disclosure and background check requirements because all of

the Heartland Campus is HCYH property, there is insufficient evidence in the record

to support such an argument.

      In moving for and opposing summary judgment, CNSIMI provides little

factual information about the physical characteristics of the Heartland Campus and

HCYH.     Based on the record before the Court, it appears HCYH is located

somewhere on the Heartland Campus, which is a “sprawling” campus that is located

in two counties. Aside from stating that the men in HMRP live in one county, which

is separated by a lake from where the children, women, and college students reside,

there is no information as to the total size of the Heartland Campus, whether the

Heartland Campus is contiguous, who owns the parcels of the Heartland Campus, or


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where HCYH is even located on the Heartland Campus. And while CNSIMI

operates on the Heartland Campus, it is undisputed that CNSIMI is not the only legal

entity that uses the land.    The Heartland Christian College and the Heartland

Community Church, which are separate legal entities from CNSIMI, are also located

on the Heartland Campus. But again, there is little to no information as to where

these entities are located. And there is no information regarding how the land is

parceled on the Heartland Campus, although it is undisputed that HCYH, HMRP,

and HWRP all have separate street addresses. In short, Plaintiff has not established

that there are adults over the age of 18 in recovery programs who reside on HCYH’s

property such that they would need to be disclosed and/or undergo background

checks to comply with the RCFNA.

      Plaintiff has failed to show either that it must disclose to DSS the adults who

participate in its recovery programs or that such individuals must undergo

background checks under the RCFNA. Therefore, Plaintiff has not established that

the RCFNA’s disclosure and background check requirements violate federal privacy

laws. Defendant is entitled to summary judgment as to Count I of the Complaint.




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             2. Right to Expressive Association – Count II

      In Count II, CNSIMI alleges that it is an association for social, economic,

educational, religious, and cultural purposes, and that it is entitled to protection of

its right to expressive association under the First Amendment. CNSIMI argues that

RCFNA’s notification requirements, Mo. Rev. Stat. § 210.1262, violate its right to

expressive association by threatening its programs and imposing burdens on those

who join in its Christian beliefs.      More specifically, CNSIMI argues that the

notification requirements may dissuade adults from participating or continuing in

HMRP and HWRP, which could jeopardize these programs. Plaintiff also argues

that the RCFNA’s background check requirements, Mo. Rev. Stat. § 210.493,

violate its right to expressive association. It points to the fact that an individual is

“ineligible for employment, service or presence” at an LERCF, which Plaintiffs

contend is CNSIMI in toto, if the individual refuses to consent to a background

check, is registered on certain state registries, or has pled guilty to or been convicted

of certain crimes, including, for instance, “felony drug-related offenses.” Mo. Rev.

Stat. § 210.493. CNSIMI claims the Act and its regulations restrict CNSIMI’s

freedom “to form an expressive association of those who share a common

commitment to education, addiction recovery and religious faith,” because




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enforcement of the statute will result in the exclusion of some of its members from

CNSIMI’s ministry and the Heartland Campus. (ECF No. 91 at 26, ¶ 119).

      The Court finds, contrary to Plaintiff’s view, that the RCFNA’s disclosures

and background check requirements do not apply to CNSIMI as whole, and CNSIMI

has failed to set forth facts to show that they would apply all persons who reside,

work, or are present on the Heartland Campus. More particularly, the Court finds

that individuals in HMRP and HWRP are not subject to the disclosures and

background check requirements. Therefore, Plaintiff’s argument that the RCFNA

violates CNSIMI’s right to expressive association under the First Amendment

because it would dissuade adults from participating or continuing in these adult

recovery programs is without merit.

      RCFNA’s background check requirements do, however, have the potential to

exclude individuals from working, residing and/or volunteering at or on the premises

of HCYH. The Court, therefore, now turns to whether the RCFNA’s background

check requirements violate Plaintiff’s right to expressive association by excluding

certain persons from HCYH.

      “[I]mplicit in the right to engage in activities protected by the First

Amendment is a corresponding right to associate with others in pursuit of a wide

variety of political, social, economic, educational, religious, and cultural ends.”


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Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984). But the freedom of

expressive association, like many freedoms, is not absolute. Id. at 623. The Eighth

Circuit has instructed courts to conduct the following analysis when evaluating a

claim for violation of the right to associate under the First Amendment:

      [The] analysis of a freedom of association claim involves a two-part
      inquiry. First, if the plaintiff has identified an associational right that is
      impacted by the state action, the [U.S. Supreme] Court inquires whether
      the burden on that right is “significant.” Boy Scouts of Am. v. Dale, 530
      U.S. 640, 656 (2000) (finding “that the forced inclusion of Dale would
      significantly affect” the Boy Scouts’ expressive association); see also
      Roberts [ ], 468 U.S. [at] 626 [ ] (“Indeed, the Jaycees has failed to
      demonstrate that the Act imposes any serious burdens on the male
      members' freedom of expressive association.”) … If the burden is found
      to be a significant burden on associational rights, the court must then
      consider whether a compelling state interest justifies the governmental
      practice. Dale, 530 U.S. at 648 (noting that the governmental entity
      must have a “‘compelling state interest[ ], unrelated to the suppression
      of ideas, that cannot be achieved through means significantly less
      restrictive of associational freedoms[.]’”) Ultimately, we must balance
      these competing interests[.] “[T]he associational interest in freedom of
      expression has been set on one side of the scale, and the State's interest
      on the other.” Id. at 658–59.

Royer ex rel. Est. of Royer v. City of Oak Grove, 374 F.3d 685, 687–88 (8th Cir.

2004).

      CNSIMI argues that the background check requirements burden its

constitutional right to expressive association because “the results of the background

checks automatically, mechanistically determine whether a community member can



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remain at Heartland, regardless of CNSIMI’s judgment.” 5 (ECF No. 104 at 18). It

argues that Defendant’s ability to declare an individual “ineligible to be [a]

member[ ] of the Heartland community is an outright abrogation of CNSIMI’s right

as an expressive association to define its membership.” (Id.)

       The statutory defined purpose of RCFNA’s required background checks is to

determine whether an individual is “eligible or ineligible for employment or

presence at the residential care facility.” Mo. Rev. Stat. § 210.493.11. The results

of the background checks, however, do not determine who can be a member of

CNSIMI, participate in its ministries, or be present on the Heartland Campus, rather

they have the potential to exclude individuals from HCYH.

       Defendant has never advocated that an individual’s non-compliance with

RCFNA’s background check requirements would result in his or her exclusion from

CNSIMI’s ministries and/or the Heartland Campus, although it can result in partial

exclusion in that individuals could be excluded from HCYH, CNSIMI’s LERCF.

Despite this, Plaintiff makes an all or nothing argument. It does not assert as an

alternative argument that exclusion from one aspect of its ministries – being able to

reside, work, or volunteer at HCYH – is a significant burden on CNSIMI’s right to



       5
      It is not clear whether CNSIMI is using the term “Heartland” here to refer to the Heartland
Campus or CNSIMI itself.

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expressive association, and the Court has found no controlling law that would

indicate that partial exclusion from an association’s premises or programs rises to

the level of a significant burden. See Royer, 374 F.3d at 687–88 (partial ban on

presence at community center, which limited the plaintiff’s ability to carry out duties

as head of several local non-profit organizations and also limited his ability to meet

with other citizens to discuss politics was not a significant burden on plaintiff’s right

to expressive association).

      Furthermore, activities and practices of individuals, though religiously

motivated, are often subject to state regulation under the state’s power to promote

health, safety, and public welfare. See, e. g., Prince v. Massachusetts, 321 U.S. 158,

(1944) (child-labor laws valid as applied to children distributing religious materials);

Reynolds v. United States, 98 U.S. 145 (1878) (law prohibiting the practice of

polygamy upheld). Even if Plaintiff had shown that partial exclusion of some

members was a significant burden on its right to expressive association, the Court

finds a compelling state interest justifies background check requirements for adults

who work or volunteer or are present at a LERCF. Dale, 530 U.S. at 648. Children

in residential facilities are a particularly vulnerable population. All aspects of the

children’s care are entrusted to the facility 24 hours a day, and by definition, children

who reside at a LERCF do not have parents or guardians to protect them. In


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practice, children may be cut off from communicating with others outside the facility

about abuse or neglect. The regulations involved here clearly come within the

state’s power in the areas of health, safety, and public welfare. Defendant has a

substantial governmental interest in ensuring the safety of children and protecting

them from exploitation by felons or persons with a history of abusing children. Webb

as next friend of K. S. v. Smith, 936 F.3d 808, 811 (8th Cir. 2019) (“few governmental

interests are more compelling than protecting minor children from abuse or deadly

harm.”).

      Plaintiff aruges that while there may be a compelling state interest in

protecting children, the RCFNA is not narrowly tailored to advance this interest

because under the statute and its regulation, individuals who would not have any

contact with children could be excluded from the Heartland Campus. CNSIMI also

argues that disqualifying conduct under the RCFNA includes crimes that do not

involve children. Each of these arguments will be addressed in turn.

      To the extent Plaintiff’s first argument is based on its broad interpretation of

the definition of LERCF, the Court rejects the argument without merit. See

discussion supra.   The Court recognizes that CNSIMI makes a more specific

argument as well. It points to the statute and argues that the categories of persons

who are required to undergo background checks include persons who have no


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contact with children whatsoever and would include CNSIMI’s outside

professionals and senior leadership.

      Section 210.1263 of the RCFNA lists the following persons who are to

undergo background checks pursuant to § 210.493:

      Officers, managers, contractors, volunteers with access to children,
      employees, and other support staff of residential care facilities subject
      to the notification requirements under sections 210.1250 to 210.1286;
      any person eighteen years of age or older who resides at or on the
      property of such residential care facility; any person who has
      unsupervised contact with a resident of such residential care facility;
      and owners of such residential care facilities who will have access to
      the facilities shall undergo background checks under section 210.493.

Mo. Rev. Stat. § 210.1263. Section 210.493 also lists categories of persons who

must undergo background checks, and until recently, § 210.493 tracked the language

of § 210.1263. However, § 210.493 was amended by the Missouri legislature

effective August 28, 2023, to omit some of these categories of persons. More

specifically, the statute now provides as follows:

      Contractors, volunteers with access to children, and employees of
      residential care facilities subject to the notification requirements
      under sections 210.1250 to 210.1286; any person eighteen years of age
      or older who resides at or on the property of such residential care
      facility; any person who has unsupervised contact with a resident of the
      residential care facility; and owners of such residential care facilities
      who will have access to the facilities shall submit fingerprints and any
      information that the department requires to complete the background
      checks, as specified in regulations established by the department, to the
      Missouri state highway patrol for the purpose of conducting state and
      federal fingerprint-based background checks.

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Mo. Rev. Stat. § 210.493.3. In other words, the more recent amendment to statute

excludes officers, managers and “other support staff” from the background check

requirements. CNSIMI argues that the two statutes are inconsistent and that Mo.

Rev. Stat. § 210.1263 continues to apply such that officers, managers, and other

support staff remain in the categories of persons who must undergo background

checks. The Court does not agree.

      As discussed above, when a court is called upon to evaluate a statute, the chief

objective “is to ascertain the intent of the legislature from the language used, to give

effect to that intent if possible, and to consider the words in their plain and ordinary

meaning.” S. Metro. Fire Prot. Dist. v. City of Lee's Summit, 278 S.W.3d 659, 666

(Mo. 2009). And when “two statutory provisions covering the same subject matter

are unambiguous standing separately but are in conflict when examined together, a

reviewing court must attempt to harmonize them and give them both effect.” South

Metropolitan Fire Protection Dist., 278 S.W.3d at 666 (citation omitted). “If

harmonization is impossible, a chronologically later statute, which functions in a

particular way will prevail over an earlier statute of a more general nature, and the

latter statute will be regarded as an exception to or qualification of the earlier general

statute.” Id. (quotation omitted).



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       Here the two provisions are in conflict, but Mo. Rev. Stat. § 210.493 was

amended after § 210.1263, and in light of the fact that § 210.1263 directs that the

background checks are to be performed under § 210.493, the Court finds that

§ 210.493 operates as a qualification to § 210.1263, and § 210.493 is controlling.

Officers, managers, and other support staff of a LERCF are no longer required to

undergo background checks. 6 See State ex rel. Hillman v. Beger, 566 S.W.3d 600,

607 (Mo. 2019) (“it is presumed that, when the legislature amends a statute, the

legislature intended to effect some change in the existing law.”).

       Only the following persons are required to undergo background checks under

the RCFNA: contractors with access to children, volunteers with access to children,7

employees of HCYH, any person eighteen years of age or older who resides at or on

the property of HCYH; any person who has unsupervised contact with a resident of


       6
        Consistent with the recently amended statute, the applicable regulations were also
amended, and they no longer define the terms “officer,” “manager” or “other support staff.”
Compare 13 C.S.R. 35-71.015 (2023) with 13 C.S.R. 35-71.015 (2024). Moreover, the recently
amended regulations state that “[e]xcept as otherwise provided in this regulation, applicants for [
] LERCFs [ ] who are required to complete the background check process include contractors with
unsupervised access to children; volunteers with unsupervised access to children; employees;
owners of [ ] LERCFs that will have access to the facilities; and owners of LERCF [ ] that will
have access to children.” 13 C.S.R. 35-71.015(1)(A)(1) (2024).
       7
        Reading the words “access to children” as modifying both contractors and volunteers is in
accord with the series-qualifier canon. Wong v. Minnesota Dep’t of Hum. Servs., 820 F.3d 922,
928–29 (8th Cir. 2016) (“[T]he series qualifier canon generally applies when a modifier precedes
or follows a list.”). See also Flores-Figueroa v. U.S., 556 U.S. 646, 650 (2009) (holding that the
adverb “knowingly” modified verbs in a series).


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HCYH; and HCYH’s owners, who have access to the facility. Mo. Rev. Stat.

§ 210.493.3; 13 C.S.R. 35-71.015(1)(A)(1). The Court finds that this list is not

overly broad, as it is limited to persons who would have access to children who

reside in a facility without a parent or guardian. The list does not include outside

professionals, such as lawyers or accountants, or CNSIMI’s senior leadership.

      Plaintiff also makes the argument that the RCFNA is not narrowly tailored

because the list of offenses that render an individual ineligible to work, volunteer or

be present at HCYH or on its premises includes offenses that are not related to

children. 8 Two of CNSIMI’s employees were deemed to be ineligible because one


      8
          An applicant shall be ineligible if the applicant:

      (1)       Refuses to consent to the background check as required by this section;
      (2)       Knowingly makes a materially false statement in connection with the background
                check as required by this section;
      (3)       Is registered, or is required to be registered, on a state sex offender registry or
                repository or the National Sex Offender Registry;
      (4)       Is listed as a perpetrator of child abuse or neglect under sections 210.109 to 210.183
                or any other finding of child abuse or neglect based on any other state's registry or
                database; or
      (5)       Has pled guilty or nolo contendere to or been found guilty of:
                (a)      Any felony for an offense against the person as defined in chapter 565;
                (b)      Any other offense against the person involving the endangerment of a child
                         as prescribed by law;
                (c)      Any misdemeanor or felony for a sexual offense as defined in chapter 566;
                (d)      Any misdemeanor or felony for an offense against the family as defined in
                         chapter 568;
                (e)      Burglary in the first degree as defined in section 569.160;
                (f)      Any misdemeanor or felony for robbery as defined in chapter 570;
                (g)      Any misdemeanor or felony for pornography or related offense as defined
                         in chapter 573;
                (h)      Any felony for arson as defined in chapter 569;

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had a past conviction for unlawful use of a weapon and the other had a past

conviction of arson. Setting aside that both of these employees work in the day

school not at HCYH, and it is not clear from the record whether they are even subject

to § 210.493’s background check requirements, the Court finds that offenses that

render an applicant ineligible need not be limited to offenses involving children or

sexual abuse, as Plaintiff would suggest. The state’s interest in protecting children

is not confined to protecting them from child abuse or sexual abuse. The state has

a compelling interest in protecting the general safety of these vulnerable children.

More general crimes, like those involving weapons or arson, have the potential to

place children at risk and it advances the state’s compelling interest in protecting

vulnerable children to place them on the list of disqualifying offences.

       In sum, the Court finds CNSIMI has not established that its right to expressive

association under the First Amendment has been violated by the RCFNA. Under



              (i)    Any felony for armed criminal action as defined in section 571.015,
                     unlawful use of a weapon as defined in section 571.030, unlawful
                     possession of a firearm as defined in section 571.070, or the unlawful
                     possession of an explosive as defined in section 571.072;
              (j)    Any felony for making a terrorist threat as defined in section 574.115,
                     574.120, or 574.125;
              (k)    A felony drug-related offense committed during the preceding five years;
                     or
              (l)    Any similar offense in any federal, state, or other court of similar
                     jurisdiction of which the department has knowledge.

Mo. Rev. Stat. § 210.493.12.

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the statute and its regulations, members of CNSIMI have the potential to be excluded

from HCYH, one of CNSIMI’s programs and not its entire ministry. Plaintiff has

not established partial exclusion from HCYH would amount to a significant burden

on its right to freedom of association.        But even if partial exclusion were a

significant burden, the Court finds the State has a compelling interest in protecting

children who are residents of LERCFs, and the RCFNA’s disclosure and background

check requirements are narrowly tailored to achieve that interest. Defendant is

entitled to summary judgment as to Count II of the Complaint.

             3. Violation of Parental Rights – Count IV

      In Count IV, Plaintiff alleges that the RCFNA and its regulations threaten

child removals and the ceased operation of HCYH, which “deprives students’

parents of a fair opportunity to procure for their children instruction that they think

is important and that they have selected at least in part for religious reasons. (ECF

No. 91 at 28). Citing to Pierce v. Society of the Sisters of the Holy Names of Jesus

& Mary, 268 U.S. 510 (1925), Plaintiff alleges that Defendant “has violated and

continues to violate the federal constitutional rights of Plaintiff, including its

students and their parents, to be free from interference with the rights of parents,

guardians and families to direct the upbringing and education of their children under

the U.S. Constitution.” (ECF No. 91. at 29).


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      The Supreme Court in Pierce and other cases has recognized a fundamental

right under the Constitution to “direct the education and upbringing of [one's]

children.” Pierce, 268 U.S. at 535; see also Meyer v. Nebraska, 262 U.S. 390, 401

(1923) (holding state law prohibiting foreign language instruction violated the

“power of parents to control the education of their own”). Parental rights, however,

are not unlimited. Stevenson v. Blytheville Sch. Dist. #5, 800 F.3d 955, 966 (8th Cir.

2015). The right is not absolute when the state has a compelling interest in

protecting children from abuse. Swipies v. Kofka, 348 F.3d 701, 703 (8th Cir. 2003).

      “Activities and practices of individuals, though religiously motivated, are

often subject to state regulation under the state's power to promote health, safety,

and public welfare.” Windsor Park Baptist Church v. Arkansas Activities Ass'n, 658

F.2d 618, 621 (8th Cir. 1981).      The Constitution “does not forbid reasonable

nondiscriminatory regulation designed to advance recognized secular interests.”

Windsor Park Baptist Church v. Arkansas Activities Ass'n, 658 F.2d 618, 621 (8th

Cir. 1981). Here, Missouri has a compelling interest in ensuring the safety of

children, and as discussed above, the RCFNA’s disclosure and background

requirements – which are not nearly as broad as Plaintiff contends – are sufficiently

limited to protect children who reside in LERCFs without their parents.




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      Under Pierce, parents cannot be compelled to send their children to public

schools; they have a fundamental right to choose a private school. Pierce, 268 U.S.

at 535. Parents, however, do not have a fundamental right to send their children to

a private school free of state regulation, including reasonable background check

requirements. Plaintiff motion for summary judgment as to Count IV is denied, and

Defendant is entitled to judgment as to this claim. Plaintiff has not established that

the RCFNA violates parents’ constitutional rights to direct the upbringing and

education of their children.

             4. Right to Church Autonomy – Count V

      In Count V, CNSIMI claims that the RCFNA and its regulations violate

CNSIMI’s freedom and autonomy under the religion clauses of the First

Amendment. CNSIMI argues that its teachers of religion, among other employees,

are sources of religious instruction to students and are an essential part of

transmitting religious faith to students. Plaintiff contends that the new statute and

enabling regulations contain no exception for the employment of these ministerial

employees, which include teachers, house parents, and many other employees who

promote CNSIMI’s Christian message. CNSIMI claims that under Hosoanna-

Tabor Evangelical Lutheran Church & School. v. E.E.O.C., 565 U.S. 171 (2012),

RCFNA’s exceedingly broad background check requirements, which do not have


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exceptions for ministerial employees, unlawfully interferes with CNSIMI’s religious

autonomy.

      The Free Exercise and Establishment Clauses protect “the right of religious

institutions to decide for themselves, free from state interference, matters of church

government as well as those of faith and doctrine.” Our Lady of Guadalupe Sch. v.

Morrissey-Berru, 591 U.S. 732, 736 (2020) (internal quotation marks and citations

omitted). In Hosanna-Tabor, a “called” teacher at a Lutheran school claimed that

she was unlawfully discharged in violation of the Americans with Disabilities Act.

The Supreme Court began its analysis with the general statement that “[b]oth

Religion Clauses bar the government from interfering with the decision of a religious

to fire one of its ministers.” 565 U.S. at 181. The Court found that the First

Amendment bars “ministers” from bringing suit against a religious entity claiming

termination in violation of employment discrimination laws. The Supreme Court

then examined whether the teacher was a minister covered by the ministerial

exception, and after considering a number of factors, including what functions she

actually performed in her job, the Court concluded she was.

      Importantly, the Supreme Court acknowledged that religious entities are

subject to neutral laws of general applicability, and in addressing the EEOC’s

argument that the ministerial exception would confer on religious employers an


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“unfetter discretion” to violate a number of employment laws including hiring

children or undocumented workers, the Supreme Court expressly limited the holding

of the case, writing:

       The case before us is an employment discrimination suit brought on
       behalf of a minister, challenging her church's decision to fire her.
       Today we hold only that the ministerial exception bars such a suit. We
       express no view on whether the exception bars other types of suits,
       including actions by employees alleging breach of contract or tortious
       conduct by their religious employers.

Id. at 194.

      The case at bar is not an employment discrimination suit and, therefore, the

holding in Hosanna–Tabor is not controlling in this case. Id. But even if the case

were to apply, CNSIMI does not claim that any of its “ministers” have been deemed

to be ineligible for employment or presence at HCYH. It is undisputed that two

CNSIMI employees did not meet RCFNA’s background check requirements, but

Plaintiff does not argue that these two employees – one who was a janitor and the

other who was a cafeteria worker – meet the functional requirements of a “minister.”

Our Lady of Guadalupe School, 591 U.S. at 755 (to qualify for the ministerial

exception, “[w]hat matters, at bottom is what an employee does.”). Furthermore,

the Court declines to make a blanket determination that CNSIMI’s teachers, house

parents, administrators, and board members qualify under the ministerial exception

without evidence as to how specific individuals perform these jobs. Id.

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       Plaintiff argues that the RCFNA substantially interferes with its hiring

decisions at every level and forecloses its ability to hire anyone, including a pastor

or teacher, who does not meet the statute’s eligibility requirements, and it contends

that the state cannot invade a religious entity’s sphere of autonomy in such a way.

Plaintiff argues that CNSIMI’s autonomy as a religious organization grants it

freedom from any governmental authority imposing by legislation or regulation

broad and meaningless criteria for whom it can employ or house. The Court does

not agree. The independence of a religious institution in the matters of faith and

doctrine and church governance, “does not mean that religious institutions enjoy a

general immunity from secular laws.” Our Lady of Guadalupe School, 591 U.S. at

747.

       Plaintiff has not established that RCFNA has been applied in such a way that

a CNSIMI minister, teacher, or employee who is an essential part of transmitting

CNSIMI’s religious message has been deemed ineligible for employment at HCYH.

Therefore, any as-applied challenge is without merit. To the extent CNSIMI is

making a facial challenge to the statute, the Court acknowledges that the RCFNA

may interfere with a religious organization’s right to decide who can work at its

LERCF, but Plaintiff has provided no support for an argument that the state cannot

disqualify individuals, including ministers or religious teachers, who have been


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convicted of sex crimes against minors, for example, from working at a residential

care facility for children. Washington State Grange v. Washington State Republican

Party, 552 U.S. 442, 449 (2008) (a plaintiff “can only succeed in a facial challenge

by establishing that no set of circumstances exists under which the Act would be

valid, i.e., that the law is unconstitutional in all of its applications.”) (cleaned up).

Even under the less demanding standard for facial challenges, it is clear that a statute

requiring background checks for persons who work at or are present at a LERCF

“has a plainly legitimate sweep.” Id. Plaintiff has failed to show that the RCFNA

violates the Religion Clauses of the First Amendment as applied or on its face.

Defendant is entitled to summary judgment as to Count V of the Complaint.

             5. Illegal search and seizure – Count VI

      Plaintiff claims that the RCFNA and its regulations deprive Plaintiff and its

members “certain constitutionally protected rights under the Fourth Amendment to

the Constitution of the United States including the right to be free from warrantless

and unreasonable searches and seizures.”         (ECF No. 91 at 32).        The Fourth

Amendment to the United States Constitution “protects ‘[t]he right of the people to

be secure in their person, houses, papers, and effects, against unreasonable searches

and seizures.’” United States v. Thompson, 524 F.3d 1126, 1132 (10th Cir. 2008)

(quoting U.S. Const. amend. IV). It also commands that “no Warrants shall issue,


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but upon probable cause, supported by Oath or affirmation, and particularly

describing the place to be searched, and the persons or things to be seized.” U.S.

Const. amend. IV.

      Plaintiff argues that a RCFNA regulation that requires CNSIMI to keep

medical records for children and to allow DSS to inspect those records without

reason or a warrant violates the Fourth Amendment right to be free of unreasonable

searches. See 13 C.S.R. § 35.71.300(5)(D)(8). This regulation, however, was

amended effective October 30, 2024, and it now provides as follows:

      The division will accept a written attestation, made under oath, subject
       to penalty of perjury, and executed by the director of the LERCF, that
       the LERCF actually maintains medical records for each child served by
       the LERCF according to the written policy of the LERCF, which shall
       be attached to the attestation.

13 C.S.R. § 35.71.300(5)(D)(8)(A). Plaintiff’s Fourth Amendment claim as to this

regulation, therefore, is denied as moot. Teague v. Cooper, 720 F.3d 973, 977 (8th

Cir. 2013); Phelps-Roper v. City of Manchester, Mo., 697 F.3d 678, 687 (8th Cir.

2012).

      Plaintiff also claims that the more general disclosure requirements of Mo.

Rev. Stat. § 210.1264 violate Plaintiff’s Fourth Amendment right to be free from

unlawful searches.9 Plaintiff cites no authority to support its Fourth Amendment


      9
          The statutory provision provides as follows:

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unlawful search argument. More specifically, Plaintiff has not established that

disclosures under § 210.1264 amount to a search within the meaning of the Fourth

Amendment. Defendant is entitled to summary judgment as to Count VI. See also

United States v. MacLeod, 436 F.2d 947, 950–51 (8th Cir. 1971) (rejecting criminal

defendant’s argument that statute requiring taxpayers to supply information to the

government violates the Fourth Amendment right to be free from unreasonable

searches).

             6. Procedural due process – Count III and VII

      CNSIMI brings procedural due process claims in Counts III and VII.

Plaintiff argues that three parts of the RCFNA and its regulations fail to meet the

procedural due process requirements the Fourteenth Amendment.                           CNSIMI

challenges Mo. Rev. Stat. § 210.1271, which is the enforcement provision of the

RCFNA, and Mo. Rev. Stat. § 210.143, which provides procedures for conducting



      Upon request by the department or a law enforcement officer acting within the
      scope of his or her employment, any license-exempt residential care facility subject
      to the notification requirements of sections 210.1250 to 210.1286 shall provide a
      full census and demographic information of children at the residential care facility,
      including parental or other guardian contact information and a full list of officers,
      managers, contractors, volunteers with access to children, employees, and other
      support staff of the residential care facility; any person eighteen years of age or
      older who resides at or on the property of the residential care facility; and any
      person who has unsupervised contact with a resident of the residential care facility.

      Mo. Rev. Stat. § 210.1264.


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assessments of children during an abuse investigation of a LERCF. CNSIMI also

contends that the RCFNA’s background check procedures, which are set forth in

Mo. Rev. Stat. § 210.493.11 and 13 C.S.R. 35-71.015, fail to provide applicants with

proper due process including, among other things, the right to properly appeal

ineligibility determinations.

      The Due Process clause of the United States Constitution provides that “[n]o

State shall ... deprive any person of life, liberty, or property, without due process of

law.’” U.S. Const. amend. XIV, § 1. Due process “is a flexible concept, requiring

only such procedural protections as the particular situation demands.” Lind v.

Midland Funding, L.L.C., 688 F.3d 402, 405 (8th Cir. 2012) (quotations and citations

omitted). That said, “procedural due process has [a] clear [meaning]: Parties whose

rights are to be affected are entitled to be heard; and in order that they may enjoy

that right they must first be notified,” Id. at 405–06 (quotations and citations

omitted).

      None of the statutory or regulatory provisions Plaintiff is challenging on

procedural due process grounds have been enforced against CNSIMI or applied to

any of its members. Despite this, CNSIMI asks the Court to invalidate these

provisions and broadly declare them unconstitutional under the Fourteenth

Amendment. Such relief would apply not only to CNSIMI and its applicants, but it


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would also apply to other operators of LERCFs and any applicants they may have.

In other words, CNSIMI is not making an as-applied challenge to these statutory and

regulatory provisions but a facial challenge. Los Angeles v. Patel, 576 U.S. 409,

415 (2015) (a facial challenge, is “an attack on a statute itself as opposed to a

particular application.”).

      Facial challenges to the validity of state laws are disfavored because they “run

contrary to the fundamental principle of judicial restraint that courts should neither

anticipate a question of constitutional law in advance of the necessity of deciding it

nor formulate a rule of constitutional law broader than is required by the precise facts

to which it is to be applied.” Washington State Grange, 552 U.S. at 450 (quotations

and citations omitted). CNSIMI is asking that the Court invalidate these state

statutes and regulation as unconstitutional, an extraordinary remedy that is

disfavored.

      Even when bringing a facial challenge, Plaintiff must satisfy “normal

requirements” of Article III standing. Mosby v. Ligon, 418 F.3d 927, 932–33 (8th

Cir. 2005). See also Town of Chester, N.Y. v. Laroe Ests., Inc., 581 U.S. 433 (2017)

(a plaintiff must demonstrate that it has standing for each claim it brings and for each

form of relief it seeks.). Defendant argues that CNSIMI lacks standing to challenge

§§ 210.1271.1 and 210.143 on procedural due process grounds. While Defendant


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does not raise standing with regard to the background check requirements, the Court

has an independent responsibility to ensure that CNSIMI also has Article III standing

to bring this claim. See Bernbeck v. Gale, 829 F.3d 643, 646 (8th Cir. 2016).

      Article III establishes three elements as a constitutional minimum for a party

to have standing: (1) ‘an injury in fact,’ meaning ‘the actual or imminent invasion of

a concrete and particularized legal interest’; (2) a causal connection between the

alleged injury and the challenged action of the defendant; and (3) a likelihood that

the injury will be redressed by a favorable decision of the court.” Sierra Club v. U.S.

Army Corps of Eng'rs, 645 F.3d 978, 985–86 (8th Cir. 2011) (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)). “This means that, throughout

the litigation, the plaintiff ‘must have suffered, or be threatened with, an actual injury

traceable to the defendant and likely to be redressed by a favorable judicial

decision.’” Spencer v. Kemna, 523 U.S. 1, 7 (1998) (quoting Lewis v. Cont'l Bank

Corp., 494 U.S. 472, 477 (1990)). To demonstrate standing for prospective

declaratory relief, CNSIMI must show that it faces “a real and immediate threat” that

it will suffer an injury in the future, “not a conjectural or hypothetical one.” Webb

as next friend of K.S., 936 F.3d at 815 (citing Frost v. Sioux City, Iowa, 920 F.3d

1158, 1161 (8th Cir. 2019)). Previous injuries do not confer standing to pursue

injunctive or declaratory relief, but rather Plaintiff must be experiencing “an ongoing


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injury or an immediate threat of injury.” Id. See also Mosby v. Ligon, 418 F.3d

927, 933 (8th Cir. 2005) (finding plaintiff lacked standing to obtain prospective relief

where complaint dwelled almost exclusively on past interactions).

                    a. CNSIMI lacks standing to challenge Missouri Revised Statute
                       §§ 210.1271 and 210.143.

      Plaintiff challenges Mo. Rev. Stat. § 210.1271, which is the enforcement

provision of the RCFNA. This section provides that in the event a LERCF fails to

comply with RCFNA’s requirements or if there is “[a]n immediate health or safety

concern for the children at the residential care facility,” the state may seek injunctive

relief in state court to cease the operation of the LERCF.             Mo. Rev. Stat.

§ 210.1271.1.    The statute does provide that in some instances, a motion for

injunctive relief may be filed ex parte. § 210.1271.2.

      Plaintiff also argues that Mo. Rev. Stat. § 210.143 fails to meet the

requirements of due process. This subsection allows for Defendant to petition a

state court to order a LERCF that is the subject of a child abuse investigation “to

present the child at a place and time designated by the court to a children division

worker for an assessment of the children health, safety, and well-being.” Mo. Rev.

Stat. § 210.143.1. The state court is to enter the order if the court determines that

there is “reasonable cause to believe that the child has been abused or neglected”

and the LERCF “does not voluntarily provide access to the child”; the assessment,

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which shall be completed within 72 hours, “is reasonably necessary for the

completion of an investigation or the collection of evidence”; and “[d]oing so is in

the best interest of the child.” Id. at § 210.143.2 and 3. This subsection also

provides for ex parte relief under certain circumstances. Id. at § 210.1271.2.

      Plaintiff argues that both § 210.1271.1 and § 210.143 fail to meet the

Fourteenth Amendment’s procedural due process requirements. Plaintiff points to

the fact that under § 210.1271.1, Defendant is allowed to proceed ex parte without

notice or a hearing. As for § 210.143, Plaintiff argues this section provides no due

process for CNSIMI, the child, or the parents prior to a 72-hour removal, and if a

child is to be held more than 72 hours, only attempted notice is required. Plaintiff

also challenges the legal standard for the entry of a removal order.

      Although CNSIMI asks that the Court declare these two statutes

unconstitutional and enjoin Defendant from enforcing them, Plaintiff does not

allege, and there is no evidence in the record to suggest that Defendant has ever

sought or threatened to seek an ex parte injunction against CNSIMI under

§ 210.1271.1 or the removal of a child in CNSIMI’s care pursuant to § 210.143.

Despite this, CNSIMI argues that it has standing to challenge the new laws on

procedural due process grounds because Defendant has a history of illegally

intruding on Plaintiff’s constitutional rights. In support of this argument, Plaintiff


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points to the fact that on October 30, 2001, the State of Missouri wrongfully removed

115 students from the Heartland Campus and placed the children into protective

custody. CNSIMI challenged the children’s removal and obtained a permanent

injunction against Mike Waddle, Juvenile Officer of the Second Judicial Circuit,

who had removed some of the children without notice, a court order, and in the

absence of exigent circumstances. Heartland Acad. Cmty. Church v. Waddle, 317 F.

Supp. 2d 984 (E.D. Mo. 2004), aff'd, 427 F.3d 525 (8th Cir. 2005).

      In Waddle, CNSIMI did not challenge the validity of Missouri’s laws, but

rather it alleged that under the specific facts of the case, the removal of the children

violated the constitutional rights of CNSIMI, its students, and their parents. The

Honorable E. Richard Webber agreed and entered a permanent injunction against

Mr. Waddle specifically, which was affirmed by the Eighth Circuit Court of

Appeals. Heartland Acad. Cmty. Church v. Waddle, 427 F.3d 525, 536 (8th Cir.

2005). Notably, the district court found Cindy Ayers, the Chief Juvenile Officer of

the Forty–First Judicial Circuit, had also violated the plaintiffs’ constitutional rights

but declined to enter an injunction against this state employee. Judge Webber

explicitly found that Mr. Waddle, unlike Ms. Ayers, “appears ready and willing to

once again remove the children from Heartland, if the circumstances were the same




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as they were at the time of the mass removal on October 30, 2001.” 317 F. Supp.

2d at 1109.

       The fact that CNSIMI successfully litigated constitutional claims against a

juvenile officer in 2004 does not establish that it is currently facing real and

immediate threat now, or that it will suffer injury in the immediate future. The Court

believes this is especially true because in the Waddle case, which is more than 20

years old, Judge Webber did not find it necessary to enter an injunction against the

other state officer. The injunction was limited to Officer Mike Waddle, and it applied

to the facts of that case specifically. Waddle, 427 F.3d at 536 (rejecting Defendant

Waddle’s argument that the injunction would limit his and other juvenile officers

from doing their job, by noting that “anyone acquainted with this case knows

precisely the behavior that the injunction is designed to prevent in the future—the

behavior that violated the constitutional rights of Heartland and its students in the

first place.”).

       The Court finds CNSIMI does not have standing to challenge §§ 210.1271

and 210.143 on procedural due process grounds. Plaintiff has not shown that it is

facing the harms it alleges are unconstitutional, and its past interactions with the state

are insufficient to show the threat of future harm. Webb as next friend of K. S., 936

F.3d at 815 (allegations that plaintiff have an increased chance of facing “another


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situation” with DHS is not enough).              The record is devoid of anything even

suggestive that Defendant will file an ex parte enforcement action in state court

under §§ 210.1271 against CNSIMI for its failure to comply with RCFNA’s

disclosure and background check requirements. The application of Mo. Rev. Stat.

§ 210.143 is even more speculative, as there are no allegations or evidence that

CNSIMI is under investigation for child abuse or neglect.                        Reviewing the

constitutionality of these two statutes would necessarily take the Court “into the area

of speculation and conjecture,” Smook v. Minnehaha Cnty., 457 F.3d 806, 816 (8th

Cir. 2006), and it would “short circuit the democratic process by preventing laws

embodying the will of the people from being implemented in a manner consistent

with the Constitution.” 10 Washington State Grange, 552 U.S. at 451. The Court

finds Plaintiff lacks standing to bring these claims. CNSIMI’s procedural due

process claims as to Mo. Rev. Stat. §§ 210.1271 and 210.143 are dismissed without

prejudice for lack of standing.



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         Defendant’s arguments opposing the merits of Plaintiff’s procedural due process claims
demonstrate why it is perilous to strike a state law as unconstitutional pre-enforcement on a facial
challenge. Defendant argues that state court actions to enforce the RCFNA under Mo. Rev. Stat.
§ 210.1271 would be subject to Mo. Sup. Ct. R. 92.02, the procedural rule for motions for
temporary restraining orders and/or for preliminary injunctions, which requires notice and a
hearing and imposes strict limits on ex parte motions. It is unclear whether Missouri’s courts would
apply Rule 92.02 to Mo. Rev. Stat. § 210.1271 and ruling on the issue before the statute is applied
would usurp the state’s authority to enact and enforce its own statutes under the Constitution.


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                   b. CNSIMI lacks standing to challenge RCFNA’s background
                      check procedures.

      In Counts III and VII, CNSIMI aruges that the RCFNA’s background check

procedures do not satisfy the Fourteenth Amendment’s procedural due process

requirements. CNSIMI points to the fact that under Mo. Rev. Stat. § 210.493.11, a

LERCF is not entitled to information as to why an applicant was disqualified, which

CNSIMI argues, hinders a LERCF’s ability to appeal an ineligibility finding.

CNSIMI also challenges the fact that an applicant may be disqualified if he or she

has been placed on another state’s registry for child abuse and/or neglect. Mo. Rev.

Stat. § 210.493.12. According to CNSIMI, in some states an individual may be

placed on a state child abuse or neglect registry on the basis of probable cause or

reasonable suspicion, regardless of whether the individual obtained due process of

law or had de novo appeal rights, which, CNSIMI argues, is in violation of the

Fourteenth Amendment. Finally, CNSIMI argues that the regulations that provide

for appeal of an ineligibility determination do not meet the requirements of

procedural due process in that applicants who are disqualified are not permitted to

collaterally attack prior convictions or findings of abuse, and they are deprived of

employment eligibility pending any appeal.        13 C.S.R. 35-71.015(4)(B) and

(12)(C).



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      It is undisputed that two of CNSIMI’s employees were determined to be

ineligible for employment at a LERCF. There is no evidence, however, that either

of these employees appealed or intend to appeal the ineligibility determination, or

that CNSIMI intends to file an appeal of their behalf. In short, CNSIMI’s due

process arguments regarding the background check procedures are all based on

hypothetical situations. Anticipating that CNSIMI may have an applicant in the

future who may be on another state’s child abuse registry or who may seek to make

a collateral attack on a past conviction brings the Court “into the area of speculation

and conjecture,” O'Shea v. Littleton, 414 U.S. 488, 497 (1974). The speculative

nature of making such predictions leads the Court to conclude that CNSIMI has not

established that it is facing a real or immediate threat of injury as a result of the

background check procedures. Mosby, 418 F.3d at 933. The Court finds Plaintiff

lacks standing to pursue these claims. Webb as next friend of K.S., 936 F.3d at 815

(no evidence plaintiffs will suffer an injury in the future that is “not a conjectural or

hypothetical one.”). CNSIMI’s procedural due process claims as to RCFNA’s

background check procedures are dismissed without prejudice for lack of standing.

                                  V.     Conclusion

      In sum, the Court finds that under the statutory definition of “residential care

facility” and the facts of this case, HCYH qualifies as a LERCF, not CNSIMI as a


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whole. Further, CNSIMI has not established that under the terms of the RCFNA

and the facts of this case that it is required to disclose the identity of adults in its

adult recovery programs and, therefore, Plaintiff’s claim that the RCFNA is at odds

with federal privacy laws is without merit, and Defendant is entitled to the entry of

summary judgment as to Count I. Plaintiff also has not established that it or its

members’ constitutional rights to expressive association, church autonomy, and/or

parental control are violated by the RCFNA, and Defendant is entitled to the entry

of summary judgment as to Counts II, IV, and V. The Court further finds that

CNSIMI’s claim under the Fourth Amendment in Count VI as to the inspection of

medical records has been rendered moot. Finally, the Court finds CNSIMI lacks

standing to bring its claims of procedural due process in Counts III and VII.

      Accordingly,
      IT IS HEREBY ORDERED that Plaintiff CNS International Ministries,

Inc.’s Motion for Summary Judgment is DENIED. [ECF No. 95]

      IT IS FURTHER ORDRED that Defendant’s Motion for Summary

Judgment is GRANTED. [ECF No. 100]                   Consistent with the Opinion,

Memorandum, and Order, the Court enters judgment in favor of Defendant as to

Counts I, II, IV, and V of the Second Amended Complaint; Plaintiff’s claims in

Count VI of the Second Amended Complaint are denied as moot; and the Court


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dismisses without prejudice for lack of standing Plaintiff’s claims in Counts III and

VII of the Second Amended Complaint.

      An appropriate Judgment shall accompany this Opinions, Memorandum, and

Order.

      Dated this 3rd day of March, 2025.




                                       _______________________________
                                       HENRY EDWARD AUTREY
                                       UNITED STATES DISTRICT JUDGE




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